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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF LOUISIANA

PRESS ROBINSON, EDGAR CAGE,
DOROTHY NAIRNE, EDWIN RENÉ SOULÉ,
ALICE WASHINGTON, CLEE EARNEST
LOWE, DAVANTE LEWIS, MARTHA DAVIS,                    Case No. 3:22-cv-00211-SDD-SDJ c/w
AMBROSE SIMS, NATIONAL ASSOCIATION
FOR THE ADVANCEMENT OF COLORED
PEOPLE (“NAACP”) LOUISIANA STATE
CONFERENCE, and POWER COALITION FOR
EQUITY AND JUSTICE,

                     Plaintiffs,

      v.

KYLE ARDOIN, in his official capacity as
Secretary of State for Louisiana,

                     Defendant.

EDWARD GALMON, SR., CIARA HART,
NORRIS HENDERSON, and TRAMELLE
HOWARD,
                                                      Case No. 3:22-cv-00214-SDD-SDJ
                     Plaintiffs,

      v.

R. KYLE ARDOIN, in his official capacity as
Louisiana Secretary of State,

                     Defendant.


                      DECLARATION OF QIZHOU GE IN SUPPORT OF
                        MOTION FOR ADMISSION PRO HAC VICE
      QIZHOU GE declares under penalty of perjury that the following is true and correct:

   1. I am an attorney at Elias Law Group LLP, co-counsel for Plaintiffs in the above-captioned
      matter. I submit this declaration in support of the motion of J.E. Cullens, Jr. for my
      admission pro hac vice to practice in this Court in the above-captioned matter. I am
      associated in this matter with Mr. Cullens, who is a member in good standing of this Court.
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   2. I have been a member in good standing of the District of Columbia Bar since December 7,
      2022. A Certificate of Good Standing issued by the Clerk of the District of Columbia Court
      of Appeals is attached hereto as Exhibit A.
   3. No criminal or disciplinary proceedings are currently pending against me, nor have such
      proceedings ever been brought against me.
   4. Plaintiffs in the above-captioned matter have requested my representation.
   5. I have familiarized myself with and agree to abide by the Local Rules of this Court.
   6. I DO SOLEMNLY AFFIRM that I will conduct myself as an attorney and counselor of
      this Court, uprightly and according to the law; and that I will support the Constitution of
      the United States.

Dated: August 29, 2023

/s/ Qizhou Ge__________
Qizhou Ge
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